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                                           VERDICT FORM


       On the race discrimination claim of Emanaul Vance, as submitted in Instruction 5, we

find if favor of (please mark only one):

       Plaintiff Emanual Vance       .~
       -OR-

       Defendant Randy Cannon              _

       Note: Complete the following paragraphs only if the above finding is in favor of
             Plaintiff. If the above finding is in favor of Defendant, have the Presiding Juror
             sign and date this form because you have completed your deliberation on this
             claim.

       We find Plaintiff Emanual Vance's lost wages through the date of this verdict to be:

       $   rlOhe-            (stating the amount or, if none, write the word "none").

       We find that Plaintiff Emanual Vance should be compensated for withdrawing money

from his teacher's retirement account in the following amount:

       $   nDne.-            (stating the amount or, ifnone, write the word "none").

       We find that Plaintiff Emanual Vance should be compensated for mental anguish,

distress, humiliation, and embarassment in the following amount:

       $   none.-            (stating the amount or, if none, write the word "none").

       We assess punitive damages against Defendant Randy Cannon, as submitted in

Instruction 7, as follows:

       $   UpnL-             (stating the amonnt or, if nO,ne, write the wor~   '1-,),
                                                         R:U1!d £J2:tj ~
                                                         Presiding Juror


                                                         Dated:   09/~.5IoJ
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                                           VERDICT FORM


       On the race discrimination claim of Emanaul Vance, as submitted in Instruction 8, we

find if favor of (please mark only one):

       Plaintiff Emanual Vance     V
       -OR-

       Defendant Brinkley Public Schools          _

       Note: Complete the following paragraphs only if the above finding is in favor of
             Plaintiff. If the above finding is in favor of Defendant, have the Presiding Juror
             sign and date this form because you have completed your deliberation on this
             claim.

       We find Plaintiff Emanual Vance's lost wages through the date of this verdict to be:
                     00
       $   (p 70()O-       (stating the amount or, if none, write the word "none").

       We find that Plaintiff Emanual Vance should be compensated for withdrawing money

from his teacher's retirement account in the following amount:
                     J3­
       $ J;3'f'J?t         (stating the amount or, if none, write the word "none").

       We find that Plaintiff Emanual Vance should be compensated for mental anguish,

distress, humiliation, and embarassment in the following amount:

       $ 20)000            (stating the amount or, if none, write the word "none").




                                                       Presiding Juror


                                                       Dated:   09/.;?5 /():J>
                                                                 TI


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